                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN

   Idala Strouse Gasser and
   John Gasser

                       -Plaintiff



                                     Case No:
         vs.

                                     Diversity of Citizenship
                                     Violations of the 4th and 14th Amendment by 42
                                     U.S.C. 1983 and pendent claim under
                                     Wis. Stats. 19.31 et. Seq. with leave to petition
                                     For a Writ of Mandamus

   The Village of Pleasant Prairie and
   The City of Kenosha             and
   The County of Kenosha

                       -Defendant(s)

                                         Complaint

   NOW COMES Mrs. Idala Strouse Gasser and Mr. John Gasser, by their attorneys
   Strouse Law Offices and Napierala Law Offices for a claim and for a Writ of
   Mandamus to release all data, as set out herein, under 19.31-19.39 to Plaintiffs’
   counsel without further delay from The Village of Pleasant Prairie, The City of
   Kenosha and The county of Kenosha, Wisconsin.

                                          PARTIES

1. That Plaintiff Mrs. Idala Strouse Gasser is a married female and resident of the
   State of Illinois.

2. That Plaintiff Mr. John Gasser is a married male and resident of the State of
   Illinois.



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3. That the Plaintiffs, man and wife, are married to each other.

4. That the City of Pleasant Prairie is a municipal entity within the State of
   Wisconsin.

5. That the City of Kenosha is a municipal entity within the State of Wisconsin.

6. That the County of Kenosha is a municipal entity within the State of Wisconsin.

7. That all of the Plaintiffs are diverse in citizenship from all of the Defendants and
   the case involves damages of over $75,000.00.



                                         Background

8. This matter arises out of an excessive force incident which occurred on
   12/10/2018. Plaintiffs anticipate filing a lawsuit against Officer(s) of the Pleasant
   Prairie Police Department. While in custody for a suspected traffic violation an
   Officer of the Pleasant Prairie used excessive force against Mrs. Strouse causing
   her permanent physical injuries. John Gasser (“Mr. Gasser”) has been deprived
   of loss of society as a result. In order for these Plaintiffs to ascertain why
   Pleasant Prairie Police Officer(s) used excessive force which caused Mrs. Gasser’s
   permanent physical injuries it is necessary for Plaintiffs to obtain all data
   available. Multiple requests have already been sent to Pleasant Prairie and
   Kenosha County, but no documents, or adequate explanation has been received
   by Plaintiffs’ counsel.

9. That on 12/10/2018 Idala Strouse Gasser (“Mrs. Gasser”) was pulled over by a
   Pleasant Prairie police officer named Nicholas Brickert in what was documented
   as “Incident Report 18-019018”.

10. That during the course of the traffic stop and later at the Police booking at the
    Kenosha City Jail, a Pleasant Prairie Police Officer used excessive physical force
    against Mrs. Gasser, causing her permanent physical injuries in excess of
    $75,000.00, violating the 4th and 14th Amendments of the U.S. Constitution.

11. That Plaintiffs have sent three multiple requests to the Village of Pleasant Prairie
    and to Kenosha County for data regarding the incident, Pleasant Prairie has
    resisted releasing the booking video, images and data which is the most


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   compelling piece of evidence regarding the excessive use of force used by the
   Pleasant Prairie at the Kenosha City Jail or in the alternative Kenosha County
   Jail.

12. Plaintiffs’ Counsel sent Open Records Requests were sent to the Defendant(s) on:

       a.   January 10, 2019;
       b.   February 20, 2019;
       c.   April 30, 2019;
       d.   July 30, 2019
       e.   September 17, 2019

13. That to date, Plaintiffs, by their counsel, have not received any recorded video,
    photographic or audio evidence from the Defendant(s) regarding Mrs. Gasser’s
    booking into the Kenosha City Jail.

14. The first letter received from Kenosha County on January 18, 2019 which was
    nonresponsive.

15. That despite 5 separate requests for the records dating back to January 10, 2019
    asking for the very recorded of Mrs. Gasser’s booking on September 30, 2019 The
    County of Kenosha returned (in part) the following response:

       a. The video requested is outside the retention period for video footage
          retained at the Kenosha County Jail”.

16. The Defendants denied access to said data before denying its access or
    destroying it.

17. This means that Kenosha County either destroyed pertinent records in an
    ongoing criminal action, or simply refuse to turn over critical evidence no matter
    how many times the Plaintiffs request the booking video.

18. As a result, the Plaintiffs have been harmed in excess of $75,000.00.

19. That the Defendants have and had a non-discretionary ministerial duty to provide
    said data to Plaintiffs.

20. That said data will necessarily be used in an imminent federal action for the
    deprivation of Plaintiffs’ rights under the 4th and 14th Amendments


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                                       COUNT 1
                  Writ of Mandamus to Provide Records (pendent to)
                                  Wis. Stat. 19.35(1)(a)
                           Violation of Open Records Law-
                         Failure to Provide Requested Records

21. That Plaintiff readopts and re alleges Counts 1-20 as though fully set out herein.

22. That Attorney for Plaintiffs’ have made multiple separate requests for the
    booking video, however the Defendants have either destroyed this evidence ort
    refuse to turn it over.

23. To date, Defendants have not produced the requested information or given any
    reason for delay or denial.



                                    Prayers For Relief

    Wherefore, Plaintiff demands judgment against Defendants and for the Court to
    enter the following Order

       a. Grant Plaintiffs Leave to File A Writ of Mandamus ordering the
          Defendants to provide the requested data to Plaintiffs’ counsel without
          further delay;

       b. An award of reasonable attorney’s fees, damages of not less than $100.00
          and any other costs and fees under Wis. Stat. 19.37(2);

       c. That if the booking video is not provided without further delay, Plaintiffs
          pray for an inference of spoliation of evidence and that it shall be
          presumed.




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   d. That the Plaintiffs be given leave to amend this Complaint to plead
      Excessive Force injuries under the U.S. Constitution and for other relief.



                    Dated this __10th of ___April____ 2020
                           Attorneys for Plaintiffs,

                           ______/s/ Paul A. Strouse__
                                Paul Strouse
                               Attorney At Law
                               SBN: 1017891
                          Thomas Napierala- Attorney at Law
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